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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT Of PENNSYLVANIA

VICTORIA MILLARD                      : CIVIL ACTION NO.
                                      :
                          Plaintiff,  :
                                      :
           v.                         : 2:22-cv-00694-JP
                                      :
YASSEN ASSOCIATES, LLC b/b/a ZARA     :
BROW BAR, d/b/a or a/k/a ZARA BEAUTY  :
SALON, Z BROW BAR, LLC, SADAF NAQVI :
SYED NAQVI, and FATIMA NAKVI          :
                                      :
                          Defendants. :
                                      :


                                       ORDER



      AND NOW, this _________ day of _______________, 2022, upon consideration of

Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint, it is ORDERED and DECREED

that the motion is GRANTED, and the Amended Complaint is DISMISSED WITH

PREJUDICE.



                                              BY THE COURT:



                                              _________________________________
                                              The Honorable John R. Padova, U.S.D.J.
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                   IN THE UNITED STATES DISTRICT COURT
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BROW BAR, d/b/a or a/k/a ZARA BEAUTY  :
SALON, Z BROW BAR, LLC, SADAF NAQVI :
SYED NAQVI, and FATIMA NAKVI          :
                                      :
                          Defendants. :
                                      :


                                 ALTERNATIVE ORDER



       AND NOW, this _________ day of _______________, 2022, upon consideration of

Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint against individual defendants,

Sadaf Naqvi, Syed Naqvi and Fatima Nakvi, it is ORDERED and DECREED that the motion is

GRANTED, and said Defendants are hereby DISMISSED from this action WITH PREJUDICE.



                                                  BY THE COURT:



                                                  _________________________________
                                                  The Honorable John R. Padova, U.S.D.J.
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                     IN THE UNITED STATES DISTRICT COURT
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SYED NAQVI, and FATIMA NAKVI          :
                                      :
                          Defendants. :
                                      :



   DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       For the reasons set forth in the accompanying Memorandum of Law, Defendants move

this Court for an Order, pursuant to Rules 12(b)(6) of the Federal Rules of Civil Procedure, to

dismiss Plaintiff’s Amended Complaint with prejudice, or for an Alternative Order to dismiss

Plaintiff’s claim against individual defendants, Sadaf Naqvi, Syed Naqvi, and Fatima Nakvi with

prejudice.



                                                     Respectfully submitted,




Date: 8/12/2022                                      /s/ Ying Zhou
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                IN THE UNITED STATES DISTRICT COURT
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BROW BAR, d/b/a or a/k/a ZARA BEAUTY  :
SALON, Z BROW BAR, LLC, SADAF NAQVI :
SYED NAQVI, and FATIMA NAKVI          :
                                      :
                          Defendants. :
                                      :

          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
         MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT




                                        /s/ Ying Zhou
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I.      INTRODUCTION
        Defendants seek a dismissal of the amended complaint, pursuant to Rule 12(b)(6) of

Federal Rules of Civil Procedure, on the basis that it was filed outside of Rule 15(a)(1)’s 21-day

“amending as a matter of course” period and Plaintiff did not obtain the required written consent

of Defendants or seek a leave of court to amend according to Rule 15(a)(2) prior to filing. See

Fed. R. Civ. P.15(a)(1) and (a)(2).

        Separately and alternatively, Defendants seek to dismiss the amended complaint against

individual defendants, Sadaf Naqvi, Syed Naqvi, and Fatima Nakvi (“individual defendants”)

under Rule 12(b)(6) of Federal Rules of Civil Procedure for failure to state a claim upon which

relief can be granted. Specifically, the amended complaint alleges that Victoria Millard visited

Zara Brow Bar, a/k/a Zara Beauty Bar, in King of Prussia Mall on February 21, 2021, and

received facial threading services therein to various parts of her face. Then allegedly, she

contracted staph infection with cellulitis caused by the unsanitary threading performed on her

face by a Zara Brow Bar staff. Plaintiff attributes Ms. Millard’s injuries to Defendants’ negligent

failure to supervise their employee under the theory of respondeat superior. However, nowhere

in the amended complaint does plaintiff allege a cognizable theory of liability or suggest a theory

of veil piercing against the individual defendants, Sadaf Naqvi and Fatima Nakvi, who are mere

members of a duly formed New Jersey limited liability company, Z Brow Bar, LLC, the current

owner of Zara Brow Bar or Zara Beauty Bar, and/or against individual defendant, Syed Naqvi,

who is a former member of a duly dissolved and terminated New Jersey limited liability

company, Yaseen Associates, LLC, the former owner of Zara Brow Bar or Zara Beauty Bar.

Factually, Plaintiff does not allege any corporate fraud, illegality, or injustice, or set forth any

factors that are typically considered in disregarding the corporate form for purpose of piercing

the corporate veil to hold the individual members of the corporation liable. Plaintiff also does not

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allege any fact to establish that said individual defendants have participated in the tortious or

wrongful act that allegedly caused Plaintiff’s injuries.

       As set forth in more details below, the amended complaint does not allege any cognizable

theory of liability against said individual members and/or owners of defendant LLCs, who did

not participate in the alleged wrongdoing of the LLCs’ employee.

II.    FACTUAL ALLEGATIONS AND PROCEDURAL HISTORY

       Plaintiff filed a complaint on February 23, 2022 against Zara Brow Bar d/b/a or a/k/a

Zara Beauty Bar d/b/a or a/k/a Zara Beauty Salon (Doc. 1). After Defendants waived service of

summons on March 29, 2022, Plaintiff’s counsel informed defense counsel that Plaintiff intends

to file an amended complaint. Even though defense counsel did not voice any objection to

Plaintiff’s intended filing of an amended complaint, defense counsel did not specifically give

written consent for Plaintiff to file an amended complaint beyond the Rule 15(a) period for

amending as matter of course. On June 8, 2022, one hundred and five (105) days after the filing

of the original complaint, Plaintiff filed an amended complaint (Doc. 2) and named Yaseen

Associates, LLC, a dissolved and terminated limited liability company, Sadaf Naqvi, Syed

Naqvi, and Fatima Nakvi, individual members of the LLCs, as additional defendants.

       According to the amended complaint, Plaintiff Victoria Millard visited Zara Brow Bar

located in King of Prussia Mall on February 21, 2021, to have “threading done to various parts of

her face.” Amended Complaint (“Am. Compl.”) ¶10. While Plaintiff was there, she noticed that

“the person doing the threading was putting the thread in her mouth” and “did not change her

gloves between clients.” Am. Compl. ¶11. She was told that “this was part of the process.” Id.

Plaintiff alleges “[a]s a result of the thread not being sterile and/or clean and/or being in the

mouth of the person doing the threading, the thread caused (her) to contract a staff [sic] infection


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with cellulitis on her face and on her chin” for which she was hospitalized and incurred medical

expenses. Am. Compl. ¶¶12 and 13.

         The amended complaint alleges that Zara Brow Bar is individually, jointly, and severally,

operated, managed, owned, controlled, supervised or otherwise, by Yaseen Associates, LLC and

Z Brow Bar, LLC, and that “Defendant[s] Sadar [sic] Naqvi, Syed Naqvi and Fatima Nakvi were

the members of Defendant Yaseen Associates, LLC.” Am. Compl. ¶¶2, 3, 18, and 26. The

amended complaint concedes that before Plaintiff’s injury occurred, Defendant Z Brow Bar,

LLC was already formed in New Jersey and began operating a “threading salon” in the King of

Prussia Mall on or about February 2, 2021, approximately 19 days before Plaintiff’s visit to Zara

Brow Bar. Am. Compl. ¶27. The amended complaint further alleges that Defendants Yaseen

Associates, LLC and/or Z Brow Bar, LLC were formally placed on notice of Plaintiff’s claim on

or about March 23, 2021. Am. Compl. ¶27.

         The amended complaint then alleges that individual defendants “transferred all assets of

Yaseen Associates, LLC to Defendant Z Brow Bar, LLC without Yaseen Associates, LLC being

fairly compensated for said transfer of assets.” and the transfer of assets “failed to provide for

creditors, such as Plaintiff.” Am. Compl. ¶¶29 and 31. Plaintiff does not allege how the corporate

defendants, Yaseen Associates, LLC and Z Brow Bar, LLC could have anticipated Plaintiff’s

claim in their transfer of assets as the alleged transfer predates Plaintiff’s injury and subsequent

claim.

         The amended complaint alleges that individual defendants “are members and/or directors

of Defendant Z Brow Bar, LLC and exercised control of Defendant Z Brow Bar, LLC.” Am.

Compl. ¶34. However, it does not allege any fact that would either question the independent




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entity status of Defendant Z Brow Bar, LLC or create a presumption that the LLC is a sham or

mere alter ego of individual defendants.

       The amended complaint also alleges that “Yaseen Associates, LLC, formally moved the

State of New Jersey to dissolved [sic] on or about February 8, 2022” and “distributed assets to

Defendants Sadar [sic] Naqvi, Syed Naqvi Fatima Navki [sic] after the aforesaid dissolution.”

Am. Compl. ¶¶37 and 38. Relying on a New Jersey statute relating to a dissolved limited liability

company’s option to publish a notice of dissolution to its potential claimants, the amended

complaint alleges the individual defendants are “personally liable to Plaintiff for the debts of

Defendant Yaseen Associates, LLC.” Am. Compl. ¶39. However, the amended complaint does

not allege how N.J.S.A. §42-2C-51 is relevant or applicable to the facts of the subject action as

the amended complaint does not allege any notice of dissolution was published by Yaseen

Associates, LLC or that it has requested persons having claims against the company to present

them in accordance with the notice.

       The amended complaint baldly alleges, in its final count, that Yaseen Associates, LLC

and Z Brow Bar, LLC failed to register as a foreign business in Pennsylvania, and by that, they

are precluded from operating business in Pennsylvania and paying Pennsylvania taxes. Am.

Compl. ¶¶42 and 43. It further alleges that individual defendants “operated the aforementioned

retail shop without liability insurance for the protection and benefit of Plaintiff and other like

customers”; that their failure to register as a foreign entity or to obtain insurance was “for

fraudulent purposes to avoid obligations to Plaintiff and other members of the public that utilized

the services of Defendants”; that the individual defendants “failed to properly capitalize said

companies or otherwise depleted assets to the detriment of Plaintiff”; that they “failed to require

Defendant Z Brow Bar, LLC to provide fair market value for assets of Defendant Yaseen



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Associates, LLC” and that “Defendants failed to adhere to corporate structure and comingled

assets of Defendant Yaseen Associates, LLC with assets of Defendant Z Brow Bar, LLC and

with personal assets of the [individual defendants].” Am. Compl. ¶¶44 - 48. Finally, Plaintiff

alleges without an iota of supporting evidence that the individual defendants operated under a

façade corporate shell “for the fraudulent benefits of Defendants Sadar [sic] Naqvi and Fatima

Nakvi to the detriment of creditors such as Plaintiff.” Am. Compl. ¶49.

III.   ARGUMENT 1

       A.      Legal Standard

       Fed. R. Civ. P. 15(a) provides that a "party may amend its pleading once as a matter of

course within: (A) 21 days after serving it, or (B) if the pleading is one to which a responsive

pleading is required, 21 days after service of a responsive pleading or 21 days after service of a

motion under Rule 12(b), (e), or (f), whichever is earlier.” Fed. R. Civ. P. 15(a)(1). “A court has

discretion to strike or allow an amended complaint that is filed after the deadline to make an

amendment as a matter of course under Rule 15(a)(1) has passed”. See Pioneer Inv. Servs. Co. v.

Brunswick Assocs., 507 U.S. 380, 395, 113 S. Ct. 1489, 123 L. Ed. 2d 74 (1993); see also Diehl

v. U.S. Steel/Edgar Thomson Works, 2010 U.S. Dist. LEXIS 4618, at *15 (W.D. Pa. Jan. 21,

2010) (quotation omitted).” Hunter v. Dematic USA, 2016 U.S. Dist. LEXIS 65167, *11-12

(D.N.J. May 18, 2016). “In any event, after the 21-day amendment ‘as a matter of course’ period

has expired or a party has already amended its pleading once, a party may amend the pleading

‘with the opposing party's written consent or the court's leave.’ Fed. R. Civ. P. 15(a)(2).” Id.

“Leave to amend a complaint should be granted freely in the absence of undue delay or bad faith



1
 As a federal court sitting in diversity, the substantive law of Pennsylvania applies to the instant
case. Chamberlain v. Giampapa, 210 F.3d 154, 158 (3d Cir. 2000) (citing Erie R.R. v. Tompkins,
304 U.S. 64, 78 (1938)).
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on the part of the movant as long as the amendment would not be futile and the opposing party

would not suffer undue prejudice.” Id. (Citing to, Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct.

227, 9 L. Ed. 2d 222 (1962); Jang v. Boston Scientific Scimed, Inc., 729 F.3d 357, 367 (3d Cir.

2013).) "’Futility means that the complaint, as amended, would fail to state a claim upon which

relief could be granted.’" Id. (quoting, Travelers Indem. Co. v. Dammann & Co., Inc., 594 F.3d

238, 243 (3d Cir. 2010)). “Amendment of the complaint is futile if the amendment will not cure

the deficiency in the original complaint or if the amended complaint cannot withstand a renewed

motion to dismiss.” Id. at *12 (quoting, Jablonski v. Pan Am. World Airways, Inc., 863 F.2d 289,

292 (3d Cir. 1988)). “For that reason, the Court applies the ‘plausibility’ standard which applies

to motions to dismiss under Rule 12(b)(6).” Id. (citing to, Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007) and Ashcroft v. lqbal, 556 U.S. 662,

678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009)). Specifically, a complaint “must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 555 (2007)).

        The Third Circuit has directed district courts to conduct a two-part analysis when faced

with a motion to dismiss for failure to state a claim. First, the legal elements and factual

allegations of the claim should be separated, with the well-pleaded facts accepted as true but the

legal conclusions disregarded. Fowler v. UPMC Shadyside, 578 F.3d 203, 210-11 (3d Cir. 2009).

Second, the court must make a commonsense determination of whether the facts alleged in the

complaint are sufficient to show a plausible claim for relief. Id. at 211. If the court can only infer

the mere possibility of misconduct, the complaint must be dismissed because it has alleged – but

has failed to show – that the pleader is entitled to relief. Id.



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       While a court must treat well-pled factual allegations as true in conducting its analysis, a

court is “not bound to accept as true a legal conclusion couched as a factual allegation” or

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements[.]” Iqbal, 556 U.S. at 678. Moreover, a court may consider documents that are

attached to or submitted with the complaint as well as “matters incorporated by reference or

integral to the claim, items subject to judicial notice, matters of public record, orders, [and] items

appearing in the record of the case.” Buck v. Hampton Twp. Sch. Dist., 452 F.3d 256, 260 (3d

Cir. 2006). In that regard, a court is not bound to accept allegations in a complaint that are

contrary to the documents that are attached to, or referenced in, a complaint or are subject to

judicial notice. In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997).

       B.      The Amended Complaint, filed 105 days after the filing of the original Complaint,
               without Defendants’ written consent or leave of court, should be dismissed as
               non-compliant to Fed. R. Civ. P. 15(a)

       The amended complaint was filed outside of the Rule 15(a)(1) amendment “as a matter of

course” period and as such, should be dismissed as Plaintiff failed to obtain either written

consent of the defendants or the court’s leave prior to filing the same.

       Even though defense counsel learnt in March of 2022 of plaintiff’s counsel’s intended

filing of an amended complaint, she never gave written consent to such delayed filing some 105

days after counsel’s original filing of the complaint. Furthermore, as Section C of this

memorandum of law sets forth in more detail below, the claims against the individual defendants

are mere bald legal conclusions without an iota of supporting evidence, and as such, they are

futile, non-plausible, and insufficient to pierce the corporate veil to impute personal liability

upon the individual members of the duly formed limited liability company of Z Brow Bar, LLC




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or upon the already dissolved and terminated limited liability company of Yaseen Associates,

LLC.

        C.      The Amended Complaint against the individual defendants, containing mere bald
                assertions or legal conclusions insufficient to pierce the corporate veil or justify
                individual participation in the tortious act, should be dismissed as failure to state a
                claim to which relief can be granted.

        The amended complaint, if not subject to dismissal in its entirety under Rule 15(a),

should be dismissed against the individual defendants pursuant to Rule 12(b)(6) as its bald

assertions or legal conclusions are insufficient to meet the standard for either piercing the

corporate veil or finding the individual corporate members to have participated in the alleged

tortious act.

        “Under Pennsylvania law, there are two distinct potential grounds for holding limited

liability company members individually liable for debts of the company. First, in limited

circumstances, the company veil may be ‘pierced’ as a sham entity, or alter ego of the individual

member.” Washington v. Jadczak (In re Jadczak), 2011 Bankr. LEXIS 45, 2011 WL 13612 *18-

19 (Bankr. E.D. Pa. 2011). However, the Washington Court observes:

        In Pennsylvania there is a strong presumption against piercing the veil. . . . There
        is no definitive standard in Commonwealth law for the application of this theory,
        but the typical argument states that it is appropriate to pierce the veil in order to
        “prevent fraud, illegality, or injustice, or when recognition of the corporate entity
        would defeat the public purpose or shield someone from a liability for a crime.”
        Village at Camelback Property Owners Assn. Inc. v. Carr, 371 Pa. Super. 452,
        461, 538 A.2d 528, 533 (Pa. Super. 1988) (citing Zubik v. Zubik, 384 F.2d 267
        (3d Cir. 1967)). The factors to be considered in disregarding the corporate form
        are said to be undercapitalization, failure to adhere to corporate formalities,
        substantial intermingling of corporate and personal affairs, and use of the
        corporate form to perpetuate a fraud. . . .

Id. at *19.

        “The second ground to establish individual liability [] is known as the ‘participation

theory’ of liability.” Id. at *20. Under this theory, plaintiff needs to show that the individual

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defendants have “personally participated in the alleged tortious acts committed on behalf of the

corporations.” Id. Citing the Pennsylvania Supreme Court, The Washington district court

explains:

       There is a distinction between liability for individual participation in a wrongful
       act and an individual's responsibility for any liability-creating act performed
       behind the veil of a sham corporation. Where the court pierces the corporate veil,
       the owner is liable because the corporation is not a bona fide independent entity;
       therefore, its acts are truly his. Under the participation theory, the court imposes
       liability on the individual as an actor rather than as an owner. Such liability is not
       predicated on a finding that the corporation is a sham and a mere alter ego of the
       individual corporate officer. Instead, liability attaches where the record
       establishes the individual's participation in the tortious activity.

Id. at *20-21.

Pennsylvania law recognizes the participation theory as a basis of liability.

       The general, if not universal, rule is that an officer of a corporation who takes part
       in the commission of a tort by the corporation is personally liable therefor; but
       that an officer of a corporation who takes no part in the commission of the tort
       committed by the corporation is not personally liable to third persons for such a
       tort, nor for the acts of other agents, officers or employees of the corporation in
       committing it, unless he specifically directed the particular act to be done or
       participated, or cooperated therein.

Id. at *21-22 (quoting, 3A Fletcher, Cyclopedia of the Law of Private Corporations § 1137, p.

207 (perm. ed. rev. 1975)[]). “Liability under this theory attaches only where the corporate

officer is an actor who participates in the wrongful acts.” Id. at *22.

       In the case at hand, Plaintiff asserted, without an iota of factual support, that the

individual defendants operated under a “façade corporate shell” for their “fraudulent benefit” and

to the “detriment of creditors such as Plaintiff.” Am. Compl. ¶49. It is unfathomable how the

plaintiff could be deemed as a “creditor” when she has not obtained a judgment against the

defendants. Plaintiff’s other assertions, that individual defendants “failed to properly capitalize”

or “depleted assets to the detriment of Plaintiff”, “failed to require Defendant Z Brow Bar, LLC



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to provide fair market value for assets of Defendant Yaseen Associates, LLC”, and “failed to

adhere to corporate structure and comingled assets of Defendant Yaseen Associates, LLC with

assets of Defendant Z Brow Bar, LLC and with personal assets of the [individual defendants],”

all amount to bald assertions or legal conclusions disguised as factual allegations that are

insufficient to meet the notice requirement of Fed R. Civ. P. 8(a) as “a court need not credit a

complaint’s ‘bald assertions’ or ‘legal conclusions’ when deciding a motion to dismiss. Morse v.

Lower Merion Sch. Dist., 132 F.3d 902, 906, 1997 U.S. App. LEXIS 35968 at *12.

       Plaintiff’s reliance on a New Jersey statute, N.J.S.A. 42:2C-51 to attribute personal

liability to the individual defendants in Count III of the amended complaint, is misplaced. As

Plaintiff chose to file the action in the Eastern District Court of Pennsylvania and the alleged

injury occurred in Pennsylvania, the substantive laws of Pennsylvania apply here under the Erie

doctrine and the choice of law principles. As such, Plaintiff’s averments against the individual

defendants in Count III should be dismissed as failing to state a claim for which relief can be

granted.

       Plaintiff’s bald assertions, in Count IV, that Defendant LLCs failed to register in

Pennsylvania as a foreign business, failed to pay Pennsylvania taxes and operated without

insurance, on their own, do not impute personal liabilities of the individual defendants in

Plaintiff’s injury. These assertions have no bearing on whether plaintiff can pierce the corporate

veil of the defendant LLCs as there are no allegations of facts that individual defendants have

acted in any way to defraud the plaintiff or use the corporate structure to hide their criminal

actions. Defendant LLCs’ alleged failure to register in Pennsylvania or maintain insurance, by

itself, does not prevent Defendant LLCs from being bona fide New Jersey corporations for

purpose of this action. Thus, Count IV should be dismissed against individual defendants in this



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action as said defendants are protected under the corporate veil from being held personally liable

in Plaintiff’s action and Plaintiff fails to allege any fact that would trigger a piercing of the

corporate veil to hold these individual defendants liable otherwise.

        Under the participation theory, the amended complaint does not allege any fact to show

the individual defendants involved or participated in any way or form in causing Plaintiff’s

injury. It alleges only that Ms. Millard was told by the person doing the threading that “this was

part of the process.” Am. Compl. ¶11. This single, vague, hearsay or self-serving statement from

an unknown, unidentified employee alone does not impute personal liability on to the individual

defendants, who were not present at the scene and have not been shown to have either

specifically directed the alleged tortfeasor to thread or handle the threading in the alleged manner

or personally participated in the facial threading of the plaintiff. In sum, the individual

defendants cannot be held personally liable under a participation theory as the amended

complaint does not set forth any allegations of facts to show they have participated in the tortious

act that allegedly resulted in Plaintiff’s injuries.

IV.     CONCLUSIONS

        Based on the foregoing reasons, the Court should dismiss the Amended Complaint in its

entirety with prejudice or alternatively, dismiss plaintiff’s claims against individual defendants

Sadaf Naqvi, Syed Naqvi, and Fatima Nakvi.

Dated: 8/12/2022                                        /s/ Ying Zhou
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                               CERTIFICATE OF SERVICE

       I, Ying Zhou, Esq., hereby certify that the foregoing Defendants’ Motion to Dismiss the

Amended Complaint together with the proposed Orders and Memorandum of Law were

electronically filed on August 12, 2022 and is available for viewing and downloading through

the Court’s CM/ECF system by the following counsel of record for Plaintiff:



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                                                                  /s/ Ying Zhou
                                                                  Ying Zhou
